             Case 2:20-cr-00007-RGK Document 422 Filed 11/30/21 Page 1 of 6 Page ID #:1754
                                                                                                                             JS-3
                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            2:20-cr-00007-RGK-10

 Defendant           ALDRIC QUINTAS                                          Social Security No. 9         7   3   8
 akas:   Quintas, Aldric Olarte; Chuujee; Manasan, Roy                       (Last 4 digits)




                                                                                                                   MONTH   DAY      YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.     NOV      29      2021

  COUNSEL                                                        SHAUN KHOJAYAN, CJA PANEL
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                               CONTENDERE           GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          DISTRIBUTION OF CONTROLLED SUBSTANCES AND POSSESSION WITH INTENT TO DISTRIBUTE
          CONTROLLED SUBSTANCES, in violation of 21:841(a)(1),(b)(1)(A)(viii); 18:2(a), as charged in Count 6 of the Indictment;
          and FELON IN POSSESSION OF A FIREARM AND AMMUNITION, in violation of 18:922(g)(1), as charged in Count 17
          of the Indictment
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:

                                                      SEVENTY-EIGHT (78) MONTHS

        It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per
quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

        Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine.

       The Court has found that the property identified in the preliminary order of forfeiture is subject to forfeiture.
The preliminary order is incorporated by reference into this judgment and is final.

       Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Aldric
Quintas, is hereby committed on Counts 6 and 17 of the Indictment to the custody of the Bureau of Prisons for a term
of SEVENTY-EIGHT (78) MONTHS. This term consists of 78 months on Count 6 of the Indictment and 78 months on
Count 17, to be served concurrently.

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of FIVE (5)
YEARS. This term consists of five years on Count 6 and three years on Count 17 of the Indictment, all such terms to
run concurrently under the following terms and conditions:




CR-104 (wpd 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                              Page 1 of 6
             Case 2:20-cr-00007-RGK Document 422 Filed 11/30/21 Page 2 of 6 Page ID #:1755

 USA vs.     ALDRIC QUINTAS                                         Docket No.:   2:20-cr-00007-RGK-10



1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
         Office and Second Amended General Order 20-04.

2.       The defendant shall not commit any violation of local, state, or federal law or ordinance.

3.       During the period of community supervision, the defendant shall pay the special assessment in accordance with
         this judgment's orders pertaining to such payment.

4.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

5.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
         drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to exceed
         eight tests per month, as directed by the Probation Officer.

6.       The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes
         urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from
         using alcohol and illicit drugs, and from abusing prescription medications during the period of supervision.

7.       During the course of supervision, the Probation Officer, with the agreement of the defendant and defense
         counsel, may place the defendant in a residential drug treatment program approved by the U.S. Probation and
         Pretrial Services Office for treatment of narcotic addiction or drug dependency, which may include counseling
         and testing, to determine if the defendant has reverted to the use of drugs. The defendant shall reside in the
         treatment program until discharged by the Program Director and Probation Officer.

8.       As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
         treatment to the aftercare contractors during the period of community supervision. The defendant shall provide
         payment and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no
         payment shall be required.

9.       The defendant shall comply with the immigration rules and regulations of the United States, and if deported
         from this country, either voluntarily or involuntarily, not reenter the United States illegally. The defendant is
         not required to report to the Probation & Pretrial Services Office while residing outside of the United States;
         however, within 72 hours of release from any custody or any reentry to the United States during the period of
         Court-ordered supervision, the defendant shall report for instructions to the United States Probation Office
         located at: 300 N. Los Angeles Street, Suite 1300, Los Angeles, CA 90012-3323.

10.      The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, computers, cell
         phones, other electronic communications or data storage devices or media, email accounts, social media
         accounts, cloud storage accounts, or other areas under the defendant’s control, to a search conducted by a
         United States Probation Officer or law enforcement officer. Failure to submit to a search may be grounds for
         revocation. The defendant shall warn any other occupants that the premises may be subject to searches
         pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time and in a
         reasonable manner upon reasonable suspicion that the defendant has violated a condition of his supervision and
         that the areas to be searched contain evidence of this violation.




CR-104 (wpd 12/20)                       JUDGMENT & PROBATION/COMMITMENT ORDER                                       Page 2 of 6
             Case 2:20-cr-00007-RGK Document 422 Filed 11/30/21 Page 3 of 6 Page ID #:1756

 USA vs.     ALDRIC QUINTAS                                                  Docket No.:     2:20-cr-00007-RGK-10



       The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the
substance abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency.
Further redisclosure of the Presentence Report by the treatment provider is prohibited without the consent of the
sentencing judge.

      The Court recommends that the defendant be evaluated for participation in the Bureau of Prisons’ RDAP
Program.

       The Court recommends that the defendant be designated to a Bureau of Prisons’ facility in Southern California
and has no objection to Terminal Island.

         Counsel for the government motions the Court to dismiss the remaining counts. Motion granted.

         The defendant is advised of his right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            November 30, 2021
            Date                                                  R. Gary Klausner, United States District Judge
 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            November 30, 2021                              By     /s/ Sharon L. Williams
            Filed Date                                            Deputy Clerk




CR-104 (wpd 12/20)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 3 of 6
             Case 2:20-cr-00007-RGK Document 422 Filed 11/30/21 Page 4 of 6 Page ID #:1757

 USA vs.     ALDRIC QUINTAS                                                          Docket No.:      2:20-cr-00007-RGK-10



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                       STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                        While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation             implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and           criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by              vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable            most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




CR-104 (wpd 12/20)                                    JUDGMENT & PROBATION/COMMITMENT ORDER                                                          Page 4 of 6
             Case 2:20-cr-00007-RGK Document 422 Filed 11/30/21 Page 5 of 6 Page ID #:1758
             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                     Page 5 of 6
             Case 2:20-cr-00007-RGK Document 422 Filed 11/30/21 Page 6 of 6 Page ID #:1759
 USA vs.     ALDRIC QUINTAS                                                      Docket No.:      2:20-cr-00007-RGK-10



                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                            FOR U.S. PROBATION OFFICE USE ONLY
Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
